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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION


Maryland Chapter of the Sierra Club,
et al.,

                              Plaintiffs,
       V.

                                                     Case No.: 8:22-cv-2597-DKC
Federal Highway Administration, et al.,

                              Defendants.



Northern Virginia Citizens Association,


                             Plaintiff,
       V.
                                                    Case No.: 8:22-cv-03336-DKC

Federal Highway Administration, et al.,


                             Defendants.



                        DECLARATION OF STEVE ARCHER

 1. My name is Steve Archer. I am the Acting Assistant Division Chief in the Environmental

    Planning Division for the Maryland Department of Transportation State Highway

    Administration ("SHA").

 2. I have been working at SHA fbr 5 ~/2 years and a professional archeologist for 28 years.

    My primary job functions are ensuring SHA projects comply with Section106 of the

    National Historic Preservation Act and associated laws and regulations.

 3. Currently, SHA has an active project known as the Managed Lanes Study that will extend
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    managed toll lanes both ways along the I-495 Beltway from Virginia across the American

    Legion Bridge to the I-270 interchange. I have worked on the Managed Lanes Study

    since its creation.

4. I am familiar with the programmatic agreement associated with the Managed Lanes

    Study prepared in compliance with Section 106 of the National Historic Preservation Act.

    .The programmatic agreement includes numerous stipulations in which SHA has agreed to

    work with consulting parties throughout the project stages. Specifically, under Stipulation

    V Section G, it states the mitigation and commitments SHA has agreed to complete in

    connection with the Morningstar Tabernacle No. 88 Moses Hall and Cemetery (the

    "Cemetery"). "MDOT SHA will conduct further studies prior to final design and

    construction adjacent to the cemetery as part of the treatment plan specified in Stipulation

    VII. Following completion of the studies in the treatment plan, MDOT SHA and [Federal

    Highway Administration] will provide the results of the studies to.. .relevant consulting

    parties."

5. In 2021, SHA conducted a cultural resource investigation at the Cemetery. Pursuant to

   "further studies prior to final design and construction adjacent to the cemetery as part of

    the treatment plan specified in Stipulation VII" of the programmatic agreement, SHA

    completed an additional archaeological survey in the Spring of 2023 of land within

   portions of SHA's right-of-way adjacent to the Cemetery. The results of the additional

   archaeological survey were provided to all relevant consulting parties in the Fall of 2023

   ("Archaeological Report Number 560 (Addendum)").

6. Exhibit 1 is an accurate copy of the Report Abstract. Certain portions of the Report

   contain confidential information regarding the site and are not included in Exhibit 1.
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          However, the entire Report has been distributed to the consulting parties consistent with

          confidentiality protocols.

    7. The Report shows that all probable or possible burials, and other features identified in the

          2021 and additional 2023 surveys are located outside the Managed Lanes Study limit of

          disturbance and will not be impacted by the project as designed.

    I declare that the following is true and correct to the best of my knowledge, information, and

belief.

    Executed on October         , 2023 in Baltimore, MD.




                                                                      Steve Archer
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                         EXHIBIT 1
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          MARYLAND DEPARTMENT OF TRANSPORTATION
              STATE HIGHWAY ADMINISTRATION
            ENVIRONMENTAL PLANNING DIVISION
               CULTURAL RESOURCES SECTION


        ARCHAEOLOGICAL REPORT NUMBER 560 (ADDENDUM)




ADDITIONAL DOCUMENTATION OF THE MORNINGSTAR TABERNACLE
 NO.88 MOSES HALL AND CEMETERY (M:35-212) FOR THE I-495 & I-270
      MANAGED LANES STUDY AND REMOTE SENSING OF THE
                MORNINGSTAR CEMETERY IN
              MONTGOMERY COUNTY, MARYLAND




                    MARYLAND DEPARTMENT
                     OF TRANSPORTATION

                         STATE HIGHWAY
                         ADMINISTRATION




                          Project Number
                            AW073A13
                           August 2023
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MARYLAND AND WASHINGTON, D.C. REPOSITORIES
FOR MDOT SHA ARCHAEOLOGICAL REPORTS

Department of Anthropology                      Maryland National Capital Park and
The American University                         Planning Commission
Battelle - Tompkins, Room T-21                  Office of History and Archaeology
4400 Massachusetts Avenue, N.W.                 Needwood Mansion
Washington, D.C. 20016                          6700 Needwood Road
                                                Derwood, MD 20855
Department of Anthropology                      (Montgomery County reports only)
Marist Hall, Room 8
Catholic University of America                  Maryland National Capital Park and
Washington, D.C. 20064                          Planning Commission
                                                Natural and Historic Resources Division
Maryland Historical Trust                       801 Watkins Park Drive
Maryland Department of Planning                 Upper Marlboro, MD 20772
100 Community Place                             (Prince George's County reports only)
Crownsville, MD 21032-2023
                                               C&O Canal National Historic Park
Jefferson Patterson Park & Museum              National Park Service
10515 Mackall Road                             Resources Management
St. Leonard, MD 20685                          1850 Dual Highway, Suite 100
                                               Hagerstown, MD 21740
National Park Service                          (Allegany County and Washington County
Regional Archaeology Program Laboratory        reports only)
Museum Resources Center
3300 Hubbard Road                              Anne Arundel County Department of
Landover, MD 20785                             Planning & Code Enforcement
                                               Heritage Office Center
St. Mary's City Commission                     2664 Riva Road
Archaeology Division                           MS-6402
P.O. Box 39                                    Annapolis, MD 21401
St. Mary's City, MD 20686                      (Anne Arundel County reports only)

Anthropology & Environmental Studies           Calvert County Department of Planning and
Washington College                             Zoning
300 Washington Avenue                          174 Main Street
Chestertown, MD 21620                          Prince Frederick, MD 20678
                                               (Calvert County reports only)
Edward H. Nabb Research Center for
Delmarva History and Culture                   St. Mary's County Office of Planning and
Salisbury University                           Zoning
1101 Camden Avenue PP 190                      P.O. Box 653
Salisbury, MD 21801                            Leonardtown, MD 20650
                                               (St. Mary's County reports only)
Fairfax County Park Authority
James Lee Center 2855
Annandale Road
Falls Church, VA 22042
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ADDITIONAL DOCUMENTATION OF THE MORNINGSTAR
  TABERNACLE NO.88 MOSES HALL AND CEMETERY
                   (M:35-212) FOR THE
  I-495 & I-270 MANAGED LANES STUDY AND REMOTE
      SENSING OF THE MORNINGSTAR CEMETERY
         MONTGOMERY COUNTY, MARYLAND

             ARCHAEOLOGICAL REPORT NUMBER 560 (ADDENDUM)
                        Project Number AW073A13

                                         Preparedfor:


                                 IV CT'
                                   MARYLAND DEPARTMENT
                                    OF TRANSPORTATION

                                       STATE HIGHWAY
                                       ADMINISTRATION
                                   707 North Calvert Street
                                  Baltimore, Maryland 21202

The information in this report is protected information under Section 304 of the National Historic
 Preservation Act, which protects sensitive information about historic properties from disclosure.


                                        Prepared by:
                                  Frank Mikolic, M.A., RPA
                                     T.J. Horsley, Ph.D.




                                        A.D. Marble
                            2200 Renaissance Boulevard, Suite 260
                             King of Prussia, Pennsylvania 19406




                                          August 2023
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Abstract

The Maryland Department of Transportation State Highway Administration (SHA) requested that
A.D. Marble conduct additional cemetery documentation at the Morningstar Tabernacle No. 88
Moses Hall and Cemetery (M:35-212; hereafter, Morningstar Cemetery) in Montgomery County,
Maryland. This survey supplements the work completed at the Morningstar Cemetery by A.D.
Marble and Dovetail in 2021 (Falchetta et al. 2021). The project study area (hereafter called the
archaeology survey area) is located within Maryland Archeological Research Unit 12, the
Potomac Drainage, and includes the adjacent SHA Right-of-Way (SHA ROW) north of the
Morningstar Cemetery and a triangular parcel adjacent to the western edge of the cemetery. Note
that the SHA ROW includes all property owned by the State of Maryland for highway purposes,
including shoulder, undeveloped access, and buffer areas, and does not refer specifically to the
paved roadway. Tasks included archaeological monitoring of vegetation removal, limited
documentation of surficial artifacts and features, and additional geophysical survey.

Limited documentation of surficial artifacts and features within the SHA ROW prior to mowing
of the area identified seven loci of vessel glass within the western portion and a cluster of rocks
within the eastern portion. A total of 22 vessel glass loci were identified on the surface and included
a mix of beer, soda, milk, liquor, and wine bottles, as well as jars and the fragment of a glass coin
bank from the 1939 New York World's Fair. These vessels date primarily to the mid- to late
twentieth century, with two bottles potentially dating to the nineteenth century. Given the amount
of dumping and roadway debris present on the surface of the SHA ROW, and the fact that they
were found scattered across the surface, the context of these bottles is not clear. They could be
associated with a combination of activities, including roadway litter and/or Moses Hall. A cluster
of tabular-shaped rock was also identified within the eastern portion of the SHA ROW between
the fenceline and drainage gulley. These appear to be disarticulated and are likely associated with
construction of the roadway and gulley; however, they may also represent the remnants of a
cemetery wall marking the northern edge of the cemetery.

The current geophysical survey of the SHA ROW by Horsley Archaeological Prospection, LLC
(HAP), identified a total of 27 anomalies, including two probable burials, 24 possible burials, and
one linear anomaly. This linear anomaly has been interpreted as marking the western extent of the
Morningstar Cemetery. No anomalies that could be interpreted as burials were identified within
the eastern portion of the SHA ROW archaeology survey area. This area is level with the Capital
Beltway (I-495) roadway and contains an incised drainage gulley. The anomalies interpreted to be
probable, possible, and other features/disturbances were concentrated within the central and
western portions of the archaeology survey area within the SHA ROW. These are located between
the linear anomaly marking the western extent of the Morningstar Cemetery and where the
landform slopes down to the east and the gulley.

Following the 2021 survey, the Board of Trustees of Morningstar Tabernacle Number 88, Inc.,
acquired a triangular parcel bordering the western edge of the Morningstar Cemetery. This enabled
the parcel to be surveyed by HAP. Between 18 and 21 possible burials are identified within the
parcel. However, some uncertainty exists within this area, as some of these anomalies could
represent two separate sections of a single burial. The survey noted that the burials may extend
beyond the parcel to the west.
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Based on the results of the 2021 and 2023 surveys, including a slight reevaluation and correction
of the earlier data, the ground-penetrating radar (GPR) surveys have identified a total of 192
probable burials and up to 241 possible burials, totaling 433 within the area of the GPR survey.
Another 150 anomalies have also been identified as other features/disturbances; some may be
related to unmarked graves, but are likely due to other, unrelated activities. All probable burials,
possible burials, and other features/disturbances identified by both the 2021 and 2023 survey are
located outside of the 2022 Final Environmental Impact Statement (FEIS) Managed Lanes Study
project limit of disturbance (LOD) and will not be impacted by the project as designed.
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